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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF LOUISIANA
                         LAKE CHARLES DIVISION


UNITED STATES OF AMERICA                     :         CRIMINAL NO. 22-cr-00067-01


VERSUS                                       :         JUDGE JAMES D. CAIN, JR.


DERRICK HARTFIELD                            :         MAGISTRATE JUDGE KAY


                                     JUDGMENT


      Before the court is a Report and Recommendation [doc. 29] of the Magistrate Judge,

recommending that the defendant’s guilty plea be accepted. After considering the official

transcript [doc. 30] and noting the defendant’s waiver of objections, the Court finds that

the plea is correct under applicable law. Accordingly, IT IS ORDERED, ADJUDGED,

and DECREED that the Report and Recommendation be ADOPTED and that the

defendant be finally adjudged guilty of the offenses charged in Count 1 of the Indictment.

      Sentencing is set for September 15, 2022, at 10:00 a.m., before the undersigned in

Lake Charles, Louisiana.

      THUS DONE AND SIGNED in Chambers this 24th day of June, 2022.



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                              JAMES D. CAIN, JR.
                       UNITED STATES DISTRICT JUDGE
